UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

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RUTH SMITH, Individually and as Widow
for the Use and Benefit of Herself and the Do
Next of Kin of RICHARD SMITH, Deceased, : Civil No. 3:05-0444
: Judge Trauger
Plaintiff,
-against-
(corrected signature page}
PFIZER INC., PARKER-DAVIS,
a division of Warner-Lambert Company,
and Warner-Lambert Company LLC,
WARNER-LAMBERT COMPANY,
WARNER-LAMBERT COMPANY LLC and
JOHN DOE(S) 1-10,

Defendants,

PLAINTIFF’S EXPERT WITNESS STATEMENTS
AND QUALIFICATIONS FOR THE FOLLOWING:

1. Trimble, MD, Michael, Flat 22 Belvedere House, Grosvenor Road, London
SWIV 3FY United Kingdom;

2. Blume, PhD, Cheryl, 13902 North Dale Mabry Highway, Tampa, FL
33618;

3. King III, Charles, Greylock McKinnon Associates, One Memorial Drive,
Cambridge, Massachusetts 02142;

4. Ron Maris, PhD; The Suicide Center, 9 Poacher’s Lane, Columbia, SC
29223-3014;

5. Sander Greenland, Department of Epidemiology, UCLA School of Public
Health, Los Angeles, California 90095-1772.

Dated: April 27, 2010

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FINKELSTEIN & PARTNERS, LLP JACK W. LONDON AND
ASSOCIATES, P.C.

By:_/s/ Kenneth B. Fromson By:_/s/ Jack W.London

 

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By:_/s/ W. Mark Lanier

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